                      Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 1 of 58
                    CV 785
                                                                                                                           '4/
                                        PETITION UNDER 28 U.S.C.§ 2254 FOR WRIT OFl^(                                                JUN 1 3 Z019     \ -a\
                                       HABEAS CORPUS BY A PERSON IN STATE CUSTODY

                                                        District
                States ©istrict Court                              "BM-fTc. 1 o                                                  ^Z^Soisra^^
 Name       \                                           Prisoner No.                                        Case No.
         Lya\^iC:. (zTTay                                                 S3z,4o                                     CD \ Q - CriJD'^l-]
 Place of Confinement

             Co,u.TFy rioid.iTxn
 Name of Petitioner (include name under which convicted)               Name of Respondent(authorized person having custody of petitioner)
Lc. Ck.no'C^vui                   KhJt'-rv^re Ah-                          T^Morh.-'V,            ,
                           "P...V/ .i        J,-.                                                 'fit   - 4( A        ^         I .- -f £",• , (2-
 The Attorney General of the state of: /v,j A-' y a - k.

                                                                          PETITION

  1.      Name and location of court which entered the judgment of conviction under attack


  2.      Date of judgment of conviction

  3.      Length of sentence

  4.      Natiirp nf nffpngp invnivpd (all rniints)
          t,,.-''Ml ••>6". I Do.iiv'                                         Tk(r     ±'r-.       ■SMr




  5.      What was your plea? (Check one)
          (a) Not guilty                   E]
          (b) Guilty                       d
          (c) Nolo contendere              S
          If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
          indictment, give details: . ,             ,      , ■!->     •               /       ,
                                            \/\l',-ri'-.ou-f                I C-D , A"                          'tZ • op ■.r-3


  6.      If you pleaded not guilty, what kind of trial did you have? (Check one)
          (a) Jury                         d
          (b) Judge only                   0
  7.      Did you testify at the trial?
          Yes        d           No        0

 8.       Did you appeal from the judgment of conviction?
         Yes         d           No       ®




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 9.     If your answer to 8. was "yes," attach a coov of the appeals court decision to this petition and answer the
        following;

       (a) Name of court (e.g., NYS Sup. Court, 4th Dept.)

       (b) Result

       (c) Date of result and citation, if known

       (d) List all grounds you raised (1)


             (2)


             (3)


             (4)


10.    Did you seek further review of the appeals court decision by a higher state court(e.g., the NYSCourt of Appeals)?

       Yes         □    No      0

 11.   If your answer to 10. was "yes," attach a coov of the higher state court decision to this petition and answer the
       following:

       (a) Name of court

       (b) Result


       (c) Date of result and citation, if known

       (d) List all grounds you raised (1)


             (2)


             (3)


             (4)



12.    Did you file a petition for certiorari in the United States Supreme Court?
       Yes         □    No     0


13.    If your answer to 12. was "ves." attach a coov of the United States Supreme Court decision to this petition and
       please answer the following with respect to each direct appeal you asked the United States Supreme Court to
       review:



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      (a) Result.


      (b) Date of result and citation, if known

      (c) List all grounds you raised (1)


            (2)


            (3)


            (4)




14.   Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
      applications, or motions (e.g. a petition under NY CPL § 440, a state habeas petition, or a previous petition
      under 28 U.S.C. 2254) with respect to this judgment in any court, state or federal?
      Yes         □     No     E3

15.   If your answer to 14. was "yes," attach a copv of that court's decision to this petition and give the following
      information:

      (a) Name of court

      (b) Nature of proceeding

      (c) Date Filed

      (d) List M grounds you raised (1)


            (2)


            (3)


          (4)


      (e) Did you receive an evidentiary hearing on your petition, application, or motion?
                  Yes   □     No      S




                                                          - 4 -
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        (f) Result

        (g) Date of result

  16.   If your answer to 14. was "yes" and you also filed a second petition, application, or motion, attach a coov of that
        court's decision to this petition and give the same information:

        (a) Name of court

        (b) Nature of proceeding

        (c) Date Filed

        (d) List all grounds you raised (1)


              (2)


              (3)


              (4)


        (e) Did you receive an evidentiary hearing on your petition, application, or motion?
                    Yes      □   No      S
        (f) Result

        (g) Date of result

        As to any third, fourth, etc. petition, application, or motion, attach a coov of that court's decision to this petition
        and give the same information asked for under 15. and 16.

17.     If your answer to 14. was "yes" and if the court did not grant the petition(s), application(s), or motion(s) you listed
        under 15. and 16., did you appeal to an intermediate court of appeals (e.g., the New York State Court of Appeals or
        the Second Circuit Court of Appeals)?
        Yes         □     No     El

18.     If your answer to 17. was "yes," attach a coov of the aooeals court decision to this petition and answer the
        following regarding each petition, application, or motion:

        (a) Name of court

        (b) Date Filed

        (c) Result

        (d) Date of result and citation, if known




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      (e) List M grounds you raised (1)


             (2)


             (3)


             (4)


19.   Did you appeal to the highest state court (e.g., the NYS Court of Appeals) or the United States Supreme
      Court for review of decisions regarding the petition(s), application(s), or motion(s) you listed in 15. and 16.?
      (a) First petition        Yes         □     No      m

      (b) Second petition       Yes         □     No

      (c) Third petition        Yes         □     No      El

      [List any other petition and indicate yes or no.]

20.   For each "yes" answer in 19., attach a copv of that court's decision to this petition and give the following
      information;

      (a) Name of court
      (b) Date filed
      (c) Result
      (d) Date of result and citation, if known
      (e) List all grounds you raised (1)


             (2)


             (3)


             (4)


21.   If you did not appeal from the adverse action on any petition, application, or motion, explain briefly why you did
      not:




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22.   State concisely every ground on which you claim that you are being held unlawfully. Summarize briefly the facts
      supporting each ground. If necessary, you may attach pages stating additional grounds and facts supporting
      same.



             CAUTION: In order to proceed in federal court, vou must ordinarilv first exhaust vour available state court
      remedies as to each around on which vou request action bv the federal court. See 28 U.S.C. S2254fbV If vou
      fail to set forth all grounds in this petition, vou mav be barred from presenting additional grounds at a later date.
      See 28 U.S.C. 62244fbV


             For your information, the following is a list of the most frequently raised grounds for relief in habeas corpus
      proceedings. Each statement preceded by a letter constitutes a separate ground for possible relief. You may
      raise any grounds which you may have other than those listed if you have exhausted your state court remedies
      with respect to them. However, you should raise in this petition ail available grounds(relating to this conviction)
      on which you base your allegations that you are being held in custody unlawfully.

             Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must
      allege facts. The petition will be returned to you if you merely check(a)through (j) or any one of these grounds.
      (a)    Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily with
             understanding of the nature of the charge and the consequences of the plea.
      (b)    Conviction obtained by use of coerced confession.
      (c)    Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
      (d)    Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
      (e)    Conviction obtained by a violation of the privilege against self-incrimination.
      (f)    Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
            favorable to the defendant.
      (g)    Conviction obtained by a violation of the protection against double jeopardy.
      (h)    Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
      (i)    Denial of effective assistance of counsel.
      (j)    Denial of right of appeal.

      A.     Ground                         Ob-i-al-^-eLd              of                              pr^r-^rja^4- -to a.r\


            Supporting FACTS (state briefly without citing cases or law):            did Ho-i-               crCoi^-1-rac.-f-

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        B.     rimiinH                              oh>-hp^ir\e.ci <A6e. <?/               oh-^^ii^Ad pu^suc^isi-
               (/iir\icK\rJ fc\l A*^r ^:5-f

               Supporting FACTS (state briefly without citing cases or law):                     a'ug.ff,c. I r\-frct,^,i Ion s-foi?
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               b*/ -ForC-^ g^cT Coi-<Uert^ia.( fraud        a ^acA. .

       C.      Ground three:



               Supporting FACTS (state briefly without citing cases or law):




       D.     Ground four:



              Supporting FACTS (state briefly without citing cases or law):




23.    If you did not previously present any of the grounds listed in 22A,228,22C. and 22D in any other court, state or
      ^deral, state briefly what grounds you did not present and give your reasons for not presenting them:
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 24.    Do you have any petition or appeal now pending in any court, either state or federal, as to the judgment under
        attack?

        Yes        □     No        13

        (a) Name of court

        (b) Nature of proceeding

        (c) Date filed

        (d) List ali grounds you raised (1)


             (2)


             (3)


             (4)



25.    Give the name and address, if known, of each attorney who represented you in the following stages of the
       judgment you challenge in this petition:

       (a) At preliminary hearing


       (b) At arraignment and plea


       (c) At trial


       (d) At sentencing


       (e) On appeal


       (f) In any post-conviction proceeding            k:ppoii\i                                                ' ^<^•4'
                                                  , hJf.vsj jark.        . A/o       If             /'tx<b'(r.
       (g) On appeal from any adverse ruling in a post-conviction proceeding

26.    Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court
       and at the same time?

       Yes         □     No      S




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27.    Do you have any future sentence to serve after you complete the sentence imposed by the judgment under
       attack?

       Yes       n      No       C3

       (a) If so, give name and location of court which imposed sentence to be served in the future:


      (b) Give date and length of the above sentence:


      (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence
       to be served in the future?

       Yes       □      No       □




 Wherefore, petitioner prays that the Court grant petitioner relief to which he may be entitled in this proceeding.




                                                                                   Signature of Attorney (if any)




I declare under penalty of perjury that the foregoing is true and correct. Executed on



Jane.                Zj:)/?
                       (Date)


                                                                                                   A/cl&x.

                                                                       '              Signature of Petitioner
                                                                                 Pr^UAA        ,




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    OFFICE OF THE ERIE COUNTY DISTRICT ATTORNEY
                                       JOHNj.FLYNN
                                       District Attorney


                                            May 29,2019



JOSEPH TURNER,ESQ.
484 DELAWARE AVENUE
BUFFALO,NY 14202

              Re:    People v. DAVID GRAY a/k/a LORDKING DAVID AHMENDE
                     NUBAHRE AH-MENRELEMURRAYZZ
                     ECDA File No.00953-2019

Dear Mr. Turner:


              Please allow this letter to serve as notice pursuant to CPL §190.50 that this case is
proceeding to the grand jury. The Erie County Grand Jury will hear testimony concerning People
V. DAVID       GRAY      a/k/a LORDKING DAVID                  AHMENDE NUBAHRE                AH-
MENRELEMURRAYZZ oi^utte 6,2019 at 1.00-p.m. Should your client wish to testify before
the Grand Jury,please clearlWdvise our office,in writing,on or before June 5,2019,so that we may
make proper arrangements for the Grand         to receive testimony.

              Please contact the undersigned at 858-2443 in connection with this matter.

                                             Very truly yours,

                                             JOHNJ.FLYNN
                                             distkIgtattorne


                                     BY:     DANIELLEErPHILLIPS
                                             Assistant District Attorney
                                             Felony Trial Bureau
DEP/ama




   25 Delaware Avenue•Buffalo,New York 14202-3903•(716)858-2424•Fax(ZK^ 858-7425•www.etie.gov
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                                                                                             Docket Number

TOWN OFAMHERST                                  NO ^ONTIZAcf Wo CoNseNT CD #:19-920317
COUNTY OFERIE STATE OF NEW YORK                                                ^
                                                    OVoz|,'9S2.
                                                            -P ^ .                 \        FELONY
                The People ofthe State ofNew Votk           ■*                     (
                                  vs.                                     0,

                DAVID GRAY DOB: 08/02/1982                                         J        INFORMADON / COMPLAINT
                        1440 JEFFERSON AY                                          j
                       BUFFALO, NY 14208                                           J
1, Police Officer 2 RICHARD D. WALTER, a police officer herein, accuse DAVID GRAY, the DEFENDANT
of this action, and charge that on or about Sunday, April 7, 2019 at 1574 EGGERT RD in the TOWN OF
AMHERST, County of ERIE, at about 09:15 PM, said DEFENDANT did commit the offense of:

                   CRIMINAL POSSESSION OF A WEAPON IN THE THIRD DEGREE


a class D FELONY contrary to the provisions of section 265.02, subsection 01 of the Penal Law of the State of
New York.


THE SAID DEFENDANT, AT THE AFORESAID TIME AND PLACE, DID COMMIT THE CRIME OF
CRIMINAL POSSESSION OF A WEAPON IN THE FOURTH DEGREE AS DEFINED IN SUBDIVISION
ONE, TWO, THREE OR FIVE OF SECTION 265.01, AND HAS PREVIOUSLY BEEN CONVICTED OF
ANY CRIME. TO WIT: On the above-listed date and time the Defendant did operate an unregistered red 2000
Pontiac Bonneville, which was stopped for Vehicle and Traffic Law infractions. Both the Defendant and Co-
Defendant were placed into custody for PL 170.25. An inventory of the aforementioned vehicle revealed a
stainless steel Titan .25 ACP semi-automatic pistol with an empty chamber and a magazine inserted in the grip
containing two (2) rounds of .25 ACP, wrapped in a blue rag, located in-between the front of the center console
assembly and the end of the driver's side floorboard of the aforementioned vehicle. Both the Defendant and Co-
Defendant denied possession of the pistol. Per PL 265.15-3, both the Defendant and Co-Defendant were charged.
The Defendant also did not possess a valid pistol permit, and was convicted of attempted Criminal Possession of
a Weapon in the Third Degree on February 18,2009.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to the provisions of the Criminal
Procedure Law, and according to law.


                                                     NOTICE
                                              (Penal Law, Section 210.45)
   It is a crime, punishable as a Class A Misdemeanor under the Laws of the State of New York, for a person, in a
written instrument, to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.



                                                       ''        ■• ' ■                Ij
                                                         iPp                   w                             Complainant
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 16 of 58
                                         attorney            Docket Number

 TOWN OFAMHERST                                                                     CD #:19-920317
 COUNTY OFERIE STATE OFNEW YORK
                                                                              FELONY
                 The People ofthe State ofNew York
                                  vs.

                DAVID GRAY DOB:08/02/1982                                     INFORMATION / COMPLAINT
                        1440 JEFFERSON AY
                       BUFFALO,NY 14208


 I, Police Officer 2 RICHARD D.WALTER,a police officer herein, accuse DAVID GRAY,the DEFENDANT
 ofthis action, and charge that on or about Sunday, April 7,2019 at 1574 EGGERT RD in the TOWN OF
 AMHERST,County of ERIE, at about 09:15 PM,said DEFENDANT did commit the offense of:



 a class C FELONY contraiy to the provisions ofsection 265.03, subsection 03 ofthe Penal Law ofthe State of
New York.


A person is guilty ofcriminal possession ofa weapon in the second degree when such person possesses any
loaded firearm. TO WIT: On the above-listed date and time the Defendant did operate an unregistered red 2000
Pontiac Bonneville, which was stopped for Vehicle and Traffic Law infractions. Both the Defendant and Co-
Defendant were placed into custody for PL 170.25. An inventory ofthe aforementioned vehicle revealed a
stainless steel Titan .25 ACP semi-automatic pistol with an empty chamber and a magazine inserted in the grip
containing two(2)rounds of.25 ACP,wrapped in a blue rag, located in-between the front ofthe center console
assembly and the end ofthe driver's side floorboard ofthe aforementioned vehicle. Both the Defendant and Co-
Defendant denied possession ofthe pistol. Per PL 265.15-3, both the Defendant and Co-Defendant were charged.
The Defendant also did not possess a valid pistol permit.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to the provisions ofthe Criminal
Procedure Law,and according to law.


                                                    NOTICE
                                           (Penal Law,Section 210.45)
   It is a crime, pnnishable as a Class A Misdemeanor under the Laws of the State of New York,for a person,in a
 written instrument,to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.




                                                                                        '? r..? .    Complainant

Subscribed and sworn to me this                                                             ArK -
8th of April, 2019
                                                                                       AMHEHS -           COURT
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 17 of 58
                                                                                Docket Number

TOWN OFAMHERST                                                                     CD #:19-920317
COUNTY OFERIE STATE OF NEW YORK
                                                                              FELONY
                The People ofthe State ofNew York
                                  vs.

               DAVID GRAY DOB:08/02/1982                                     INFORMATION / COMPLAINT
                       1440 JEFFERSON AY
                       BUFFALO,NY 14208


I, Police Officer 2 RICHARD D. WALTER,a police officer herein, accuse DAVID GRAY,the DEFENDANT
ofthis action, and charge that on or about Sunday, April 7,2019 at 1574 EGGERT RD in the TOWN OF
AMHERST,County ofERIE, at about 09:15 PM,said DEFENDANT did commit the offense of:

           CRIMINAL POSSESSION OF A FORGED INSTRUMENT IN THE SECOND DEGREE

a class D FELONY contrary to the provisions ofsection 170.25 ofthe Penal Law of the State ofNew York.

THE SAID DEFENDANT,AT THE AFORESAID TIME AND PLACE,DID WITH KNOWLEDGE THAT IT
IS FORGED AND WITH INTENT TO DEFRAUD,DECEIVE OR INJURE ANOTHER,HE UTTERS OR
POSSESSES A FORGED INSTRUMENT OF A KIND SPECIFIED IN SECTION 170.10 OF THE PENAL
LAW.TO WIT: On the above-listed date and time the Defendant did operate an unregistered red 2000 Pontiac
Bonneville, bearing a single license plate marked "INDIANA TEMPORARY REGISTRATION J356985
DEALER NO.0407894 EXPIRES 12-22-2019." The plate, a "A written instrument officially issued or created by
a public office, public servant or governmental instrumentality," was determined to be a forgeiy, and the vehicle
showed unregistered in both Indiana and New York. The Defendant was the operator ofthe aforementioned
vehicle.


ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore,the complainant requests that said defendant be dealt with according to the provisions ofthe Criminal
Procedure Law,and according to law.


                                                    NOTICE
                                           (Penal Law,Section 210.45)
   It Is a crime, punishable as a Class A Misdemeanor under the Laws ofthe State of New York,for a person,in a
 written instrument,to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.




                                                                                                     Complainant

Subscribed and sworn to me this
8th of April,2019
                                                                                 ArK     I}   "nic



                                                                                        j -^vV/v COURT
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 18 of 58
                                                                               Docket Number

 TOWN OFAMHERST                                                                    CD #:19-920317
 COUNTY OFERIE STATE OFNEW YORK
                                                                             FELONY
                The People ofthe State ofNew York
                                  vs.

               DAVID GRAY DOB:08/02/1982                                     INFORMATION / COMPLAINT
                       1440 JEFFERSON AY
                       BUFFALO,NY 14208


I, Police Officer 2 RICHARD D.WALTER,a police officer herein, accuse DAVID GRAY,the DEFENDANT
ofthis action, and charge that on or about Sunday, April 7, 2019 at 1574 EGGERT RD in the TOWN OF
AMHERST,County of ERIE, at about 09:15 PM,said DEFENDANT did commit the offense of:



a class E FELONY contrary to the provisions ofsection 265.01-B ofthe Penal Law ofthe State ofNew York.

A person is guilty of criminal possession ofa firearm when he or she possesses any firearm. TO WIT: On the
above-listed date and time the Defendant did operate an unregistered red 2000 Pontiac Bormeville, which was
stopped for Vehicle and Traffic Law infractions. Both the Defendant and Co-Defendant were placed into custody
for PL 170.25. An inventory ofthe aforementioned vehicle revealed a stainless steel Titan .25 ACP semi
automatic pistol with an empty chamber and a magazine inserted in the grip containing two(2)roxmds of.25
ACP,wrapped in a blue rag, located in-between the front ofthe center console assembly and the end ofthe
driver's side floorboard ofthe aforementioned vehicle. Both the Defendant and Co-Defendant denied possession
ofthe pistol. Per PL 265.15-3, both the Defendant and Co-Defendant were charged. The Defendant also did not
possess a valid pistol permit.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to the provisions ofthe Criminal
Procedure Law,and according to law.


                                                    NOTICE
                                             (Penal Law,Section 210.45)
   It is a crime, punishable as a Class A Misdemeanor under the Laws of the State of New York,for a person,in a
 written instrument,to knowingly make a false statement,or to make a statement which such person does not believe
                                                   to be true.



                                                                                 HI^64
                                                                                                        Complainant

Subscribed and sworn to me this
                                                                                   - ... I   V
8th of April,2019



                                                                                                 LiRT
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 19 of 58
                                                                                Docket Number


 TOWN OFAMHERST                                                                    CD#:19-920317
 COUNTY OFERIE STATE OF NEW YORK

                The People of the State ofNew York
                                  vs.

                DAVID GRAY DOB:08/02/1982                                    INFORMATION / COMPLAINT
                         1440 JEFFERSON AY
                         BUFFALO,NY 14208


We,Police Officer 2 RICHARD D. WALTER and Police Officer 1 CRAIG N.PETIT,police officers herein,
accuse DAVID GRAY,the DEFENDANT ofthis action, and charge that on or about Sunday, April 7,2019 at
1574 EGGERT RD in the TOWN OF AMHERST,County ofERIE, at about 09:15 PM,said DEFENDANT did
commit the offense of:


         OBSTRUCTING GOVERNMENTAL ADMINISTRATION IN THE SECOND DEGREE

a class A MISDEMEANOR contrary to the provisions ofsection 195.05 ofthe Penal Law ofthe State ofNew
York.


THE SAID DEFENDANT,AT THE AFORESAID TIME AND PLACE,DID INTENTIONALLY OBSTRUCT,
IMPAIR OR PERVERT THE ADMINISTRATION OF LAW OR OTHER GOVERNMENTAL FUNCTION OR
PREVENTS OR ATTEMPTS TO PREVENT A PUBLIC SERVANT FROM PERFORMING AN OFFICIAL
FUNCTION,BY MEANS OF INTIMIDATION,PHYSICAL FORCE OR INTERFERENCE,OR BY MEANS
OF ANY INDEPENDENTLY UNLAWFUL ACT,OR BY MEANS OF INTERFERING, WHETHER OR NOT
PHYSICAL FORCE IS INVOLVED,WITH RADIO,TELEPHONE,TELEVISION OR OTHER
TELECOMMUNICATION SYSTEMS OWNED OR OPERATED BY THE STATE,OR COUNTY,CITY,
TOWN,VILLAGE,FIRE DISTRICT OR EMERGENCY MEDICAL SERVICES OR BY MEANS OF
RELEASING A DANGEROUS ANIMAL UNDER CIRCUMSTANCES EVINCING THE ACTORS INTENT
THAT THE ANIMAL OBSTRUCT GOVERNMENTAL ADMINISTRATION.TO WIT: On the above-listed
date, time and location the Defendant did operate an unregistered red 2000 Pontiac Bonneville and was stopped
for Vehicle and Traffic Law infractions. The Defendant refused to provide the Complainant with his actual name
and date of birth, despite being warned by the Complainant ofthe consequences of lying about his name and date
of birth numerous times. The Defendant was then asked to step out ofthe vehicle, to which he again repeatedly
refused. The Complainant and other officers were forced to break a window in order to unlock the vehicle's
doors. The Defendant was then observed to make furtive movements toward the center console/driver's
floorboard ofthe vehicle and had to be ordered at gunpoint to show his hands. The Defendant still refused to
leave the vehicle and had to be forcibly removed by officers, forcibly handcuffed, all the time pushing his body
back against officers and attempting to pull his arms away. A loaded pistol was later recovered from the driver's
side floorboard ofthe aforementioned vehicle. The Defendant then refused to be processed at Amherst Police
Headquarters.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to.the.prqyisions ofthe C^inal
Procedure Law,and according to law.                                               ,      i      ^       )
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 20 of 58
                                                                                Docket Number


 TOWN OFAMHERST                                                                    CD #:19-920317
COUNTY OFERIE STATE OF NEW YORK

                The People ofthe State ofNew York
                                  vs.

               DAVID GRAY DOB:08/02/1982                                     INFORMATION / COMPLAINT
                         1440 JEFFERSON AY
                         BUFFALO,NY 14208


We,Police Officer 2 RICHARD D. WALTER and Police Officer 1 CRAIG N.PETIT,police officers herein,
accuse DAVID GRAY,the DEFENDANT ofthis action, and charge that on or about Sunday,April 7, 2019 at
1574 EGGERT RD in the TOWN OF AMHERST,County ofERIE, at about 09:15 PM,said DEFENDANT did
commit the offense of:


                                             RESISTING ARREST


a class A MISDEMEANOR contrary to the provisions of section 205.30 ofthe Penal Law ofthe State ofNew
York.


THE SAID DEFENDANT,AT THE AFORESAID TIME AND PLACE,DID INTENTIONALLY PREVENT
OR ATTEMPT TO PREVENT A POLICE OFFICER OR PEACE OFFICER FROM EFFECTING AN
AUTHORIZED ARREST OF HIMSELF OR ANOTHER PERSON.TO WIT: On the above-listed date, time and
location the Defendant did operate an unregistered red 2000 Pontiac Bonneville and was stopped for Vehicle and
Traffic Law infractions. The Defendant refrsed to provide the Complainant with his actual name and date of
birth, despite being warned by the Complainant ofthe consequences of lying about his name and date of birth
numerous times. The Defendant was then asked to step out ofthe vehicle, to which he again repeatedly refused.
The Complainant and other officers were forced to break a window in order to unlock the vehicle's doors. The
Defendant was then observed to make furtive movements toward the center console/driver's floorboard ofthe
vehicle and had to be ordered at gunpoint to show his hands. The Defendant still refused to leave the vehicle and
had to be forcibly removed by officers, forcibly handcuffed, all the time pushing his body back against officers
and attempting to pull his arms away. A loaded pistol was later recovered from the driver's side floorboard ofthe
aforementioned vehicle.


ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to the provisions ofthe Criminal
Procedure Law,and according to law.


                                                    NOTICE
                                           (Penal Law,Section 210.45)
   It is a crime, punishable as a Class A Misdemeanor under the Laws of the State of New York,for a person,in a
 written instrument,to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.
            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 21 of 58
                                                                                Docket Number


TOWN OFAMHERST                                                                     CD #:19-920317
COUNTY OFERIE STATE OF NEW YORK


                The People ofthe State ofNew York
                                  vs.

               DAVID GRAY DOB:08/02/1982                                     INFORMATION / COMPLAINT
                       1440 JEFFERSON AY
                       BUFFALO,NY 14208


I, Police Officer 2 RICHARD D. WALTER,a police officer herein, accuse DAVID GRAY,the DEFENDANT
ofthis action, and charge that on or about Simday, April 7,2019 at 1574 EGGERT RD in the TOWN OF
AMHERST,County ofERIE, at about 09:15 PM,said DEFENDANT did commit the offense of:

                                            FALSE PERSONATION


a class B MISDEMEANOR contrary to the provisions of section 190.23 ofthe Penal Law ofthe State ofNew
York.


THE SAID DEFENDANT,AT THE AFORESAID TIME AND PLACE,AFTER BEING INFORMED OF THE
CONSEQUENCES OF SUCH ACT,DID KNOWINGLY MISREPRESENT HIS OR HER ACTUAL NAME,
DATE OF BIRTH OR ADDRESS TO A POLICE OFFICER OR PEACE OFFICER WITH INTENT TO
PREVENT SUCH POLICE OFFICER OR PEACE OFFICER FROM ASCERTAINING SUCH
INFORMATION.TO WIT: On the above-listed date, time and location the Defendant did operate an
unregistered red 2000 Pontiac Bormeville and was stopped for Vehicle and Traffic Law infractions. The
Defendant refused to provide the Complainant with his actual name and date of birth, and claimed that he was a
"sovereign" citizen and gave his name as "LordKing David Ahmende Nubahre Ah-Menrelemurrayz" with no date
of birth despite being warned by the Complainant ofthe consequences oflying about his name and date of birth
numerous times. The Defendant's real name and date of birth were later revealed, showing the Defendant to have
a suspended license.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.




Therefore, the complainant requests that said defendant be dealt with according to the provisions ofthe Criminal
Procedure Law,and according to law.


                                                    NOTICE
                                           (Penal Law,Section 210.45)
   It is a crime, punishable as a Class A Misdemeanor under the Laws ofthe State of New York,for a person,in a
 written instrument,to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.




                                                                                                      Complainant

Subscribed and sworn to me this
   vjeni I u I a       i)


                              Case 1:19-cv-00785-LJV
                               SUPPORTING            Document
                                            DEPOSITION        1 Filed
                                                       ICPL 710.30    06/13/19
                                                                   NOTICE  TO Page 22 of 58
                                    SUPPORT SIMPLIFIED TRAFFICINFORMATION


   COUNTY OF ERIE                                   LOCAL CRIMINAL COURT
                                              STATE OF NEW YORK
                                      THE PEOPLE OF THE STATE OF NEW YORK
                                                       VS
                                                               DAVID               GRAY


    UTT NUMBER              AMP59F2ZNV
    Officer        R                        D      WALTER                                  of the TOWN OF AMHERST PD

    a Police Officer and the Complainant alleges that the Defendant committed a violation of
    1.(Law/Section/Subsection)           sillA
    2. Description of Violation        AGGRAVATED UNUC OP 3RD(MISD)
    3. Date 04/07/2019            Time 9:15 PM           C/T/Vof AMHERST,TOWN OF-1551
    4. Vehicle Year         2000                Make FONT                                 Color   rd-red
    License Plate No.                           State    UN

    5. General Direction of Travel by Defendant               NORTH
   6. Highway(Type/Name)              3-COUNTY                     N/B1574 eggert RO/tD
    7. Charge based on Officer's         DIRECT OBSERVATION
    8. Additional Information:

   LISTED DEFENDANT DID OPERATE LISTED VEHICLE AT LISTED LOCATION AND WAS STOPPED FOR VEHICLE AND
   TRAFFIC LAW INFRACTIONS. A DMV CHECK OF THE DEFENDANTS UCENSE REVE/U.ED IT TO BE SUSPENDED,WITH TWO
   SCOFFS ON TWO DATES(CITY OF BUFFALO,FAILURE TO PAY FINE,01/27/2018,#ZBF326ZFH6F,TOWN OF
   CHEEKTOWAGA, FAILURE TO ANSWER A SUMMONS,07/21/2017,#TCH046MGL9C).




                                           TO THE ABOVE NAMED DEFENDANT:
PLEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW,THE PEOPLE
INTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU
   on                        at                    at N/B1574 EGGERT ROAD                                              ,To
   R                                        D           WALTER                                      a public servant
   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                               FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                            MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                                           STATE OF NEW YORK

                                                        Affirmed Under Penalty of Perjury
                                                                      04/08/2019
                           SUPPORTING
                          Case           DEPOSITION
                               1:19-cv-00785-LJV    ICPL 710.30
                                                 Document       NOTICE
                                                           1 Filed      TO Page 23 of 58
                                                                   06/13/19
                                  SUPPORT SIMPLIFIED TRAFFIC INFORMATION


   COUNTY OF ERIE                              LOCAL CRIMINAL COURT
                                                    STATE OF NEW YORK
                                   THE PEOPLE OF THE STATE OF NEW YORK
                                                                  VS
                                                          DAVID            GRAY

    UTT NUMBER        AMP59F2Z0H

    Officer    R                           D   WALTER                              Ofthe TOWN OF AMHERST PD
    a Police Officer and the Complainant aiieges that the Defendant committed a vioiation of
    1.(Law/Section/Subsection)      4021
    2. Description of Violation    NO DISTINCTIVE PLATE/INSECURE/DIRTY
    3. Date 04/07/2019       Time 9:15 PM           C/T/Vof AMHERST,TOWN OF-1551
    4. Vehicle Year     2000               Make PONT                              Color   rd - red
    License Piate No.                      State    UN

    5. Generai Direction of Travei by Defendant:         NORTH
   6. Highway(Type/Name)           3-COUNTY                   N/B1574 EGGERT ROAD
   7. Charge based on Officer's     direct OBSERVATION
   8. Additionai Information:

   LISTED defendant DID OPERATE USTED VEHICLE AT LISTED LOCATION WITH A FORGED INDIANA TRANSPORTER
   PLATE THAT WAS UNABLE TO BE READ EXCEPT FROM APPROXIMATELY TEN (10)FEET AND WITH ONLY ONE PLATE
   AFFIXED TO THE REAR OF THE AFOREMENTIONED VEHICLE.




                                      TO THE ABOVE NAMED DEFENDANT:
PLEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW, THE PEOPLE
INTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU

   on                   at                     at    N/B 1574 EGGERT ROAD                                        , To

   R                                   D           WALTER                                    a public servant,

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                         FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                      MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                           STATE OF NEW YORK

                                                   Affirmed Under Penalty of Perjury
                                                              04/08/2019
                          SUPPORTING
                         Case           DEPOSITION
                              1:19-cv-00785-LJV    / CPL 710.30
                                                Document        NOTICE
                                                          1 Filed      TO Page 24 of 58
                                                                  06/13/19
                                 SUPPORT SIMPLIFIED TRAFFIC INFORMATION

   COUNTY OF ERIE                              LOCAL CRIMINAL COURT
                                                    STATE OF NEW YORK
                                  THE PEOPLE OF THE STATE OF NEW YORK
                                                                 VS
                                                         DAVID          GRAY

    UTT NUMBER       AMP59F2Z4D

    Officer   R                            D   WALTER                           of the TOWN OF AMHERST PD
   a Police Officer and the Complainant alleges that the Defendant committed a violation of
    1.(Law/Section/Subsection)      4024
   2. Description of Violation    improper plates
   3. Date 04/07/2019       Time 9:15 PM            C/T/V of AMHERST,TOWN OF-1551
   4. Vehicle Year     2000                Make pont                           Color   rd-red
   License Plate No.                       State UN                                               *
   5. General Direction of Travel by Defendant        NORTH
   6. Highway(Type/Name)          3- COUNTY                 NIB 1574 EGGERT ROAD
   7. Charge based on Officers      direct OBSERVATION
   8. Additional Information;

   LISTED DEFENDANT DID OPERATE USTED VEHICLE AT USTED LOCATION WITH A FORGED INDIANA TRANSPORTER
   PLATE AFFDCED TO THE REAR OF THE VEHICLE. A SEARCH OF THE VEHICLE IN BOTH INDIANA AND NEW YORK
   REVEALED IT TO HAVE NO REGISTRATION.




                                      TO THE ABOVE NAMED DEFENDANT:
=LEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW,THE PEOPLE
NTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU
   on                  at                      at    N/B1574 EGGERT ROAD                                     , To

   R                                  D         WALTER                                   a public servant,

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                        FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                     MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                                     STATE OF NEW YORK

                                                Affirmed Under Penalty of Peijury
                                                           04/08/2019




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                           SUPPORTING
                          Case           DEPOSITION
                               1:19-cv-00785-LJV    I GPL 710.30
                                                 Document        NOTICE
                                                            1 Filed      TO Page 25 of 58
                                                                    06/13/19
                                  SUPPORT SIMPLIFIED TRAFFIC INFORMATION


   COUNTY OF ERIE                              LOCAL CRIMINAL COURT
                                                   STATE OF NEW YORK
                                   THE PEOPLE OF THE STATE OF NEW YORK
                                                                   VS
                                                           DAVID           GRAY

    UTT NUMBER        AMP59F2Z73
    Officer    r                        d      Walter                              of the townofamherstpd
    a Police Officer and the Complainant alleges that the Defendant committed a violation of
    1.(Law/Section/Subsection)       4011A
    2. Description of Violation    UNREGISTERED RSOTOR VEHICLE
    3. Date 04/07/2019       Time 9:15 PM           G/T/Vof /tMHERST,TOWN OF -1551
    4. Vehicle Year     2000               Make PONT                              Color   rd-red
    License Plate No.                      State     UN

    5. General Direction of Travel by Defendant           NORTH
    6. Highway(Type/Name)          3- COUNTY                  NIB 1574 EGGERT ROAD
    7. Charge based on Officer's     direct OBSERVATION
    8. Additional Information:

   LISTED DEFENDANT DID OPERATE LISTED VEHICLE AT LISTED LOCATION WITH A FORGED INDIANA TRANSPORTER
   PLATE AFFIXED TO THE REAR OF THE VEHICLE. A SE/VRCH OF THE VEHICLE IN BOTH INDIANA AND NEW YORK
   REVEALED IT TO HAVE NO V/U.ID REGISTRATION.




                             TO THE ABOVE NAMED DEFENDANT:
PLEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW,THE PEOPLE
INTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU
   on                   at                     at N/B1574 EGGERT ROAD                                          ,To

   R                                   D        WALTER                                      a public servant

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                         F/\LSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                      MISDEME/VNOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                                      STATE OF NEW YORK

                                                   Affirmed Under Penalty of Perjury
                                                              04/08/2019




                                                   i:LjO.LoUb
                             Case 1:19-cv-00785-LJV
                              SUPPORTING            Document
                                           DEPOSITION         1 Filed
                                                      I GPL 710.30    06/13/19
                                                                   NOTICE  TO Page 26 of 58
                                 SUPPORT SIMPLIFIED TRAFFIC INFORMATION


   COUNTY OF ERIE                              LOCAL CRIMINAL COURT
                                          STATE OF NEW YORK
                                  THE PEOPLE OF THE STATE OF NEW YORK
                                                                  VS
                                                          DAVID            GRAY

    UTT NUMBER        AMP59F2ZB3

    Officer   R                         D     WALTER                               oftfie town OF AMHERST PD
    a Police Officer and tfie Complainant alleges tfiat the Defendant committed a violation of
    1.(Law/Section/Subsection)      306B
   2. Description of Violation    UNINSPECTED MOTOR VEHICLE
   3. Date 04/07/2019        Time 9:15 PM           C/T/Vof AMHERST,TOWN OF -1551
   4. Vehicle Year      2000               Make PONT                              Color   rd - red
    License Plate No.                      State    UN

   5. General Direction of Travel by Defendant           NORTH
   6. Highway(Type/Name)          3-COUNTY                    N/Bl574eggert road
   7. Charge based on Officer's     direct OBSERVATION
   8. Additional Information;

   USTED DEFENDANT DID OPERATE USTED VEHICLE AT LISTED LOCATION WITHOUT A VALID INSPECTION.




                             TO THE ABOVE NAMED DEFENDANT:
=LEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW, THE PEOPLE
NTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU
   on                   at                    at     N/B1574 EGGERT ROAD                                         ,To

   R                                   D       WALTER                                        a public servant,

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                        FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                     MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                                      STATE OF NEW YORK

                                                   Affirmed Under Penalty of Perjury
                                                              04/08/2019




                                                                   9,ULJiz
                             Case 1:19-cv-00785-LJV
                              SUPPORTING            Document
                                            DEPOSITION        1 Filed
                                                       ICPL 710.30    06/13/19
                                                                   NOTICE  TO Page 27 of 58
                                  SUPPORT SIMPLIFIED TRAFFIC INFORMATION


   COUNTY OF ERIE                              LOCAL CRIMINAL COURT
                                                    STATE OF NEW YORK
                                   THE PEOPLE OF THE STATE OF NEW YORK
                                                    VS
                                                          DAVID            GRAY

    UTT NUMBER        AMP59F2ZCX

    Officer    R                        D      WALTER                              of the TOWN OF AMHERST PD
    a Police Officer and the Complainant alleges that the Defendant committed a violation of
    1.(Law/Section/Subsection)       3191U
    2. Description of Violation    OPERATING WITHOUT INSURANCE
    3. Date 04/07/2019        Time 9:15 PM          C/T/Vof AMHERST,TOWN OF -1551
    4. Vehicle Year     2000               Make PONT                              Color   RD-RED
    License Plate No.                      State    UN

    5. General Direction of Travel by Defendant          NORTH
    6. Highway(Type/Name)          3- COUNTY                  N/B1574 EGGERT ROAD
    7. Charge based on Officer's     direct observation
   8. Additional Information;

   LISTED DEFENDANT DID OPERATE USTED VEHICLE AT LISTED LOCATION AND COULD NOT PROVIDE PROOF OF
   insurance for THE VEHICLE. A DMV CHECK COULD FIND NO INSURANCE INFORMATION FOR THE LISTED VEHICLE.




                             TO THE ABOVE NAMED DEFENDANT:
PLEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW,THE PEOPLE
INTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU
   on                   at                     at    N/B 1574 EGGERT ROAD                                      ,To

   R                                   D        WALTER                                      a public servant

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                         FALSE STATEMENTS MADE HEREIN ARE PUNISHABLEAS ACLASS A
                      MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                                      STATE OF NEW YORK

                                                   Affirmed Under Penalty of Perjury
                                                              04/08/2019




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                            Case 1:19-cv-00785-LJV
                             SUPPORTING            Document
                                           DEPOSITION        1 Filed
                                                      ICPL 710.30    06/13/19
                                                                  NOTICE  TO Page 28 of 58
                                  SUPPORT SIWIPLIFIED TRAFFIC INFORMATION


   COUNTY OF ERIE                                   LOCAL CRIMINAL COURT
                                               STATE OF NEW YORK
                                       THE PEOPLE OF THE STATE OF NEW YORK
                                                                       VS
                                                               DAVID            GRAY


    UTT NUMBER            AMP59F2QGP
    Officer       R                          D     WALTER                               ofthe TOWNOFAMHERSTPD

    a Police Officer and tfie Complainant alleges tfiattfie Defendant committed a violation of
    1.(Law/Section/Subsection)           1229C3A
    2. Description of Violation        lap/shoulder violation OR DJ violation
    3. Date 04/07/2019          Time    9:15 PM          C/T/Vof AMHERST,TOWN OF-1551
    4. Vehicle Year       2000                  Make PONT                              Color   RD-RED

    License Plate No.                           State    UN

    5. General Direction of Travel by Defendant               NORTH
    6. Highway(Type/Name)              3- COUNTY                   N/B1574 EGGERT ROAD
    7. Charge based on Officer's         DIRECT OBSERVATION
    8. Additional Information:

   LISTED DEFENDANT DID OPERATE USTED VEHICLE AT LISTED LOCATION WITHOUT WEARING/FASTENING AN
   AVAILABLE SEATBELT.




                                           TO THE ABOVE NAMED DEFENDANT:
PLEASE TAKE NOTICE THAT PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW. THE PEOPLE
INTEND TO OFFER AT A TRIAL OF THE ABOVE ENTITLED ACTION EVIDENCE OF A STATEMENT MADE BY YOU

   on                      at                      at     N/B 1574 eggert road                                      ,To

   R                                        D           WALTER                                   a public servant

   IN WHICH YOU SUBSTANTIALLY STATED AS FOLLOWS:




                             FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A
                          MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE
                                               STATE OF NEW YORK

                                                        Affirmed Under Penalty of Perjury
                                                                   04/08/2019




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                       Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 29 of 58




                                                                                                                                                       Complaint
                                                               POLICE REPORT
                                                                                                                                                       RepoftDa^S Tine
                                                     CRIiyi POSS WEAPON 2ND
                                                                                                                                                       04/07/2019 21:16


 AM/issS ofOasmsnuB                                                               OosDatsSinm                   l^dWeek                   TypeofPrmr^
 1574EGGERTRD                                       104                           04/07/2019 21:15              Sundey                    Street
 Status                                              FoSowUpBy                        TTMbs^        TTEntryData     TTCanest^        TTCansetData
 ClaarBd By Arrest                                    Detaob've
 omcera: (»1 - WALTER                         066 - PETIT                            Rap.Off.: 081-WALTER
         417-BROWN                            093-CHRISTMANN                       Supsrvison 417-BROWN


 UatNatr^                     FtstNane                   m     ^                   EM Date             /iiara            Sex      Age        MEnms       An^ed
PSNY                          PSNY                                                                                                              N            N
Address                                                  ON                                    SiiSa   Zip           HrsmPtume               WorkPhone
5O0 JJAUDUBON PW                                         AMHERST                               NY      14228         friei 689-1311
Herptrt Weight Hat             Eyes       Budd      Corrpkrdon Gbsaes               Scais/ki^ikstratioPs


 victim OiDrecekaMmaton on VhUm^filgtitsamfSetvkxspmtianftoNsw YorkSta^Lav




Aetdrsss                                                 G17                                   Stale    Zip          HomPhtm                 workPhots
                                                         BUFFALO                               NY       14208            1B)816-9920        (716L507-1414
                       Hair    Eyes       Bl       Comfsmthn        Gksses  ScBistMak^aiioos
                       BLK     BRO        M        MBR              Qlagsas IX RIGHT ARM




Address                                                  CSy                                   stale    Zip          HomePiwae               WarkPtme
4T66N BAILEY AV Apt 1                                    AMHERST                               NY       14226       (716)931-4556            NONE
Hek/ht  We^ht Hat                                  Corr^hn          Glasses        Sca/sdVarks/Tatioos
e- 02"  360    BLK                                 DRK              Nona           RTL ARM DAGGER RIP La ARM PRAYING HANDS

LastNatm                      FmNarm                    M         Eld
Loven                         MAROUETTA                 M                          02/15/1974          Black
Address                                                                                                 zt>          HomePhone               WxkPhone
285 E P/\RK RD                                          ^NAWANDA                      NY       14150                 UNKNOWN                 UNKNOWN
Heght     Weight       Hat     Eyes       Budd     Conrpkxhrt       Giassas ScarsflHafks/Tatbos
S' OS*   180           BLK     BRO        M        MED              Unknown UNKNOWN




Address                                                  cay                                   State    Zip          HomePhone               WarkPhorts
500 JJ AUDUBON PW                                        AMHERST                               NY       14228       (716)689-1322           (716)689-1311
Hsigiit  Weight Hat            Eyes       Budd      Ctxnplexkin     Glasses         ScaisiMaiks/Tattoos


pMISIiiiipri                                                                                                                                                             IIKI
LastName                      FlrslName                 tW        Ext               BtdiDate           Pace               Sex      Ago       JuvenUa      Arrested        Repori
UNKNOWN                       UNKNOWN                   u                                Unknown                           u                       N         N             PR
Addrssa                                                  ON                               Zip  Siaia
                                                                                                  HomePhone                                  WjtkPhone
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                                                                                                                                                                     i
                                                                                                                                                                  r / , ii 'H
Atr&tti    Name                                                         Date            Adtirsss
42369 LOVETT, EDDIE L 1/15/1982                                     04-07-2019 1574 EGGERTRD AMHERST

Status              Arrest Type                           Arresting Officars
Held                Crime in Progress                     061 WALTER.RICHARD D                                                  .^rvih:
  Lew I        Section         \ CA \ CL I                                     Deacription                                                                               Counts

 PL        265.03-03            F         C             CPW-2ND:L0ADED FIREARM-OTHER THAN IN reRSONS                                                                       1
PrtptedDate:      04/08/2019 02:58 AM                                                                                                                                Page: 1
                       Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 30 of 58



                                                                                                                    Complaint
                                                                                                                   19-920317
                                                                                                                       ReportDetei Time
                                                                                                                       04/07/2019 21:18
                                               POSSESS FORGED INSTRUMENT-2ND
                                               NO SEAT BELT- FRONT SEAT- PASSENGER 16 YEARS OLD OR OVER
                                                                                                                          pr
Amsslri    Namo                                          OaiB        Aridresa
42370      GRAY. DAVID.JR8/2/1982                       04-07-2019 1574EGGERTRD AMHERST
Status              Arrest Type                 Arresting Officers
Held                Crime In Progress           081 WALTER,RICHAR1066 PETIT,CRAIG N 417 BROWN.THOMAS M
                 Sec$on

           265.03-03                           CPW-2ND:L0ADED FIREARM-OTHER THAN IN PERSONS
           170.25                              POSSESS FORGED INSTRUMENT-2ND
           195,05                              OBSTRUCT GOVERNMENTL ADMIN 2ND
           205.30                              RESISTING ARREST
           0511-01A                            AGGRAVATED UNUCENSED OPERATION OF A MOTOR VEHICLE- 3RD
           0402-01                             REGIS PLATE DISPLAY VIOLATION
           0402-04                             OPER MV WITH IMPROPER PLATES
           0319-01U                            OPERATE MOTOR VEHICLE WITHOUT INSURANCE
           0306-B                              OPERATE MOTOR VEHICLE WITHOUT INSPECTION CERTIFICATE
           0401-01A                            OPER UNREGISTERD MV ON HIGHWAY
           1223-C-03A                          NOT RESTRAINED BY LAP SAFETY BELT AND SHOULDER HARNESS
            80.23                              FALSE PERSONATION
           265.01-B                            CRIMINAL POSSESSION OF A FIREARM
           265.02-01                           CRIMINAL POSSESSION WEAPON 3- PREVIOUS CONVICTION

                                                        BatySyb     Cotr        RB^traBor           m                   Status       rieport
GRAY DAVID JR             2000Pontiec     BONNEVIL 4DSD            Red                         NY   1G2HX54K8Y419144     Operated         PR
                                                                                                                 t f
                                                                                                     Milaii
          Type               bssapSdn          Staujs                    Make          Color        Mwfe/              TirisIMtB     Repofi
    1     Vehide Parts or    FAKE TAG          Seized             Hnwj2i2jnuii;uMr/Jiir» TEMPRQARY                               51.00 PR
                             iWi?J356985
    1    Personal Papers     FAKE SOV TAG      Seized                    UNKNOWN       WHITE        TAG                          $0.00 PR
                             ^iw&/#PRIV4T3
    1    Personal Papers     PAPERS            Recovered                 VAFUOUS       VARIG        VARIOUS                      $0.00 PR
                             SeriatB^Wk
    1     Household Items    BLUE RAG          Seized                    UNKNOWN       BLUE         RAG                          $1.00 PR
                             5i^/NC»4E
         Firearms           HANDGUN            Seized                  TITAN           STAIN        25ACP                      $200,00 PR
                            S'«j&/#A24833
    1    Purses,            PURSE/CONTEN       Recovered                 NY&           BLACK        PURSE                       $20.00 PR
                            ^firtfe/ifNONE
    1    Vehicle Parts or   LICENSE PLATE      Recovered                 NEW YORK      GOLD         GOLD                        $22.00 PR
                            S«3fe/ii?HJK3183
    1    Recordlngs-        SAN DISK           Recovered                 SANDISK       BLUE         SDCARD                      $10.00 PR
                            5®7»//N0NE


         Vahidd Parts 0      FAKE TAG              ONE (1) FAKE INDI/yJA TRANSPORTER LICENSE PLATE, WITH DEALER
                                                   NUMBER 0407894, AND EXPIRATION 12/22/2019, ATTACHED TO THE
                                                   REAR OF THE AFOREMENTIONED VEHICLE
         Personal Papers     FAKE SOV TAG          ONE(1) FAKE "SUPREME SOULAR ROYAL CHARTER" LICENSE,
                                                   LOCATED IN OFFENDER GRAY'S SATCHEL
         Personal Papers     PAPERS                PAPERS BELONGING TO OFFENDER GRAY REGARDING HIS
                                                   "SOVEREIGN CITIZEN" STATUS, LOCATED IN THE SATCHEL
                                                   BELONGING TO OFFENDER GRAY. EVIDENCE OF OBSTRUCTION
Printed Dats:    04/06/2019 02:53 AM
                            Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 31 of 58



                                                                                                               Complaint

                                                                                                                              Time

                                                                                                              04/07/2019 21:10
            HousahokJ Items         BLUE RAG        BLUE RAG,LOCATED IN BETWEEN THE CENTER CONSOLE AND THE
                                                    DRIVER'S SIDE FLOORBO/\RD OF THE AFOREMENTIONED VEHICLE, IN
                                                    WHICH THE HANDGUN WAS RECOVERED
            Firearms                HANDGUN         ONE(1)TITAN .25 ACP HANDGUN, LOCATED IN BETWEEN THE FRONT
                                                    OF THE CENTER CONSOLE AND THE DRIVER'S SIDE FLOORBOARD.
                                                    WRAPPED IN THE AFOREMENTIONED BLUE RAG
            Piiisee, Handbag        PURSE/CONTEN    ONE(1) HANDBAG WITH PAPERS,TAGGED FOR SAFEKEEPING
            Vehiclfi Parts o        LICENSE PLATE   ONE(1) NY LICENSE PLATE RECOVERED FROM THE POCKET BEHIND
                                                    THE FRONT PASSENGER SEAT, BELONGING ON A 2011 HONDA
                                                    ACCORD
            Recordlngs-Aud          S/\N DISK
                                                                                                              ^   1' 1 ll""          C
                                iiiPilliiiiiilSlili                                                           i'_ 1 1%
   'i! ^i    i '.'r Tt*•'      (i                                                                         " f In "t r' ji''/
  PROSECUTE: Yes, two arrests made,
  OTHER OFFICERS: Lt. Brown, PC Julicher, PC Doldan, PC Ctiristmann, PC Petit
  SUSPENSIONS(TOTAL 2: 2 SCOFFS ON 2 DATES):
  1. Type: SUSPENSION Date: 2018-01-27 Order #: 2BF326ZFH6F Fine: Reason: FAILURE TO PAY FINE
  Clear Date: Clear Reason: 00 Location: ERIE COUNTY, BUFFALO TRAFFIC VIOLATIONS AGENCY
  2. Type: SUSPENSION Date: 2017-07-21 Order #; TCH046MGL9C Fine: Reason: FAILURE TO
  ANSWER A SUMMONS                                                  r-iC  rJT :: > /xl:: ii
  Clear Date: Clear Reason: 00 Location: ERIE COUNTY,TOWN OF CHEEKTOWAGA-'
  EVIDENCE: See Property Notes                                                                                -.r..;.
  TOW: United                                                                                     Ar.s    -
  INVENTORY: PO Petit, pictures by Lt. Brown
  REMARKS: On the above-!isted date and time, R/0 was travelling northbound
  listed vehicle. R/O observed what appeared to be a laminated temporary license plate attached to the rear
  of the listed vehicle. R/O could not easily see the plate, but was able to get close enough to see it appeared
  to be an Indiana Temporary registration, serial J356985. R/O ran the plate in Indiana and it came back not
  on file. F?/0 attempted to run the plate several more times with several different variations of the plate with
  negative results. The plate also appeared not to match the appearance of Indiana Temporary Registrations.
  Based on this information, R/O initiated a V&T stop at the listed address for VTL 402-1 and 402-4. R/O
  made contact with the vehicle's occupants, later identified as driver Offender David Gray and front seat
  passenger Offender Eddie Lovett. Neither party appeared to be wearing their available seatbelts. RIO spoke
  with Offender Gray, who stated he was a sovereign citizen and gave his name as "LcrdKIng David Ahmende
 Nubahre Ah-Menrelemurrayzz" and stated that he did not have a driver's license. When asked, Offender
 Gray repeatedly stated that the aforementioned was his legal name and that R/O had no right to detain him
 for "violations." Gray was warned several times of the consequences of giving RIO false Information, to
 which he continued to give R/O the aforementioned name and present R/O with nonsensical documents
 regarding his "sovereign citizenship." R/O also spoke with Lovett, who stated that he was a vehicle dealer
 and that the driver was transporting the vehicle for him. Neither party could provide R/O with a valid
 registration. Inspection or Insurance information. The VIN of the vehicle showed it to be unregistered in NY
 or IN. When cover officers arrived, R/O finally told Offender Gray to exit the vehicle. Gray refused and
 asserted he had a right to travel in his "vessel." Gray was given multiple opportunities to exit the vehicle and
 refused. R/O. PO Petit and Lt. Brown then attempted to remove both parties from the vehicle, but found the
 vehicle door to be locked. Gray refused to unlock the vehicle and continued to obstruct Patrols. PO Petit did
 use a Resq-Me device to shatter the rear driver's side window and unlock the vehicle doors. Lt. Brown
 removed Offender Lovett from the passenger seat, where he was handcuffed and detained without further
 incident. At this point, Offender Gray began to make furtive movements toward the center console and
 driver's side floor board of the vehicle. R/O and PO Petit did draw their department-issued sidearms and
 gave Offender Gray clear instructions to show his hands. Offender Gray did initially ignore Patrols, but did
 eventually comply and place his hands on the steering wheel. Lt. Brown, PO Petit and R/O did then
 physically remove Gray from the vehicle where he was handcuffed. Gray continued to resist by throwing his
Prints!}PBie;       04/08/2019 02:58 AM                                                                                       Paqe: 3
                   Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 32 of 58



                                                                                                   Complaint
                                              POLICE REPORT                                      19-920317
                                                                                                   RspoftDa/s & Thm
                                        CRirVI POSS WEAPON 2ND
                                                                                                   04/07/2019 21:18


   vehicle. Both Offenders were Mirandized on scene, and at that point Offender Lovett did reveal Offender
   Gray s true name. A DMV check of Offender Gray's license revealed the listed suspensions. During the
   vehicle inventory, R/O recovered the listed pistol from In-between the front of the center console and the
  back of the driver's floorboard. The vehicle inventory was paused and the vehicle secured on scene by
  Patrols. PO Christmann did transport Offender Gray back to HQ, where he refused to be processed and
  was held pending arraignment. R/Q did transport Offender Lovett to HQ without incident, where he was
  processed and held pending arraignment. United did respond and tow the vehicle to APD HQ,followed by
  PO Petit, wrhere the vehicle inventory was completed by PO Petit and photographed by Lt. Brown.The listed
  evidence was tagged by R/O and secured in Evidence Locker # 25.


  Remarks:                     RO responded to the above location to assist PO Walter and Lt. Brown on a traffic
  stop, PO Waller had the above listed vehicle pulled over and was speaking to driver David Gray, and front
  seat passenger Eddie Lovett. Gray and Lovett refused to identify themselves. After being given many
  chances to produce identification or a legitimate name and date of birth, Gray and Lovett continued to
  disobey officer'is commands. Gray and Lovett then refused to get out of the vehicle; RO then utilized a
  window punch, which was ineffecUve on the front window, but was used successfully on the rear driver side
  window. Lovett decided to comply and get out of the vehicle, who was taken into custody by Lt. Brown. As
  Lt. Brown was taking Lovett into custody. Gray began making furtive movements towards the floor board.
  Gray was ordered to keep his hands on the steering wheel, which he complied to. Once Lovett was secured
  into a patrol car, Gray was again asked to exit the vehicle, which he disobeyed. RO,PO Walter, and Lt
  Brown had to forcefully remove Gray out of the vehicle, and take into custody. RO searched Gray incident
  to arrest and placed him into car 110.

 PO Waiter was inventorying the vehicle prior to being towed, and located above listed firearm by the front
 seat floorboard. The inventory was stopped, and United towed the vehicle back to HQ with RO following.
 RO and Lt Brown conducted the inventory in APD evidence garage, where the above listed firearm was
  recovered on the driver's seat floor board. RO located above listed NY license plate in the front passenger
 seat back pocket. RO seized above listed Indiana counterfeit license plate from the vehicle.




O/Scac 081 - WALTER                                 Supervisor 417 - BROWN

PrintedDate:   04/08/2010 02:58 AM                                                                           Paoe:4
                     Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 33 of 58


COUNTY OF ERIE                                                                                45 ELM STREET,FOURTH FLOOR
DEPARTMENT OF                                                                                 BUFFALO,NEW YORK 14203-2600
CENTRAL POLICE SERVICES                                                                       PHONE:(716)858-7409
FORENSIC LABORATORY                                                                           FAX:(716)858-7426

                                               FIREARMS ANALYSIS REPORT

LAB NUMBER: 19-01886

INVESTIGATING AGENCY: Amherst Police Department
CASE NAMES:                  Gray, David - Defendant
                            Lovett, Eddie - Defendant
CASE NO.: 19-920317                                                           REFERENCE NO.:
DATE OF REPORT:04/12/2019                                                     INV. OFFICER: Walter
Report Number 1
Item 1                   One submitted sealed box with
                         1 handgun
                         Make: FIE/Firearms Import/Export Model: Titan Type: Semi-automatic Pistol
                         Caliber/gauge: 25 Auto Serial Number: A24833

Item 1.1                 a cartridge magazine - loaded; received in packaging of Item 1
Item 1.2                 ammunition - 2/ 25 AUTO cartridges; received loaded in Item 1.1

Item 1.3                A sub-item described as:
                        test fired ammunition component(s)- TFl from ammunition submitted in Item 1.2

                        Results/Opinions/Interpretations
                        The pistol, Item 1, is operable. It was test fired using submitted ammunition.
                        The pistol exhibits rifling characteristics of six lands and grooves with a right twist.
                        The cartridge case test fired in the pistol does not meet the criteria established by this laboratory
                        for entry into the National Integrated Ballistic Information Network(MBIN)computer database.
                        The cartridge magazine, Item 1.1, fits and functions in the pistol. Its capacity was not determined.
                        The date of its manufacture was not observed. This laboratory does not determine dates of
                        manufacture for firearms or their accessories.

                        Evidence Disposition:
                        Unless otherwise noted or expended in analysis, the evidence will be maintained at the laboratory
                       until it is returned to the submitting agency.


    I affinn that I conducted the analysis documented herein.
    This report does not constitute the entire case record, which may include worksheets, images, analytical data, and other documents.
    Report wording definitions can be found at: http://criminaljustice.ny.gov/forensic/labreportstandards.htm
                  Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 34 of 58
 Ene Guilty Central Police Services Forensic Laboratory
 Lab No.: 19-01886 Report No.: 1 Cont'd
 Page 2 of2


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      (P^^oer
       CodyMcKellar
       Firearms Examiner HI

CC: ADA Safulko, Amherst JC
   Docket# 19-040404;406
       Erie County Central
                     Case  Police Services Forensic Laboratory
                              1:19-cv-00785-LJV           Document 1 Filed 06/13/19 Page 35 of 58
   '45 Elm St.
    Buffalo, New York 14203-9600
    (716)858-7409



                                       REQUEST FOR LABORATORY EXAMINATION
   SUBMITTING AGENCY:                         Pet. BUREAti:
                                                                                         AGENCY NUMBER:

   AMHERST POLICE                             PATROL                                       19-920317
   INVESTIGATING OFFICFR-                     BUSINESS PHONE-                            E-MAIL ADDRESS:

   PO WALTER                                  716-689-1311                                 RDWALTER@APDNY.ORG
  CHARGES:
                                              DATE/TIME OF OCCURRFMCF-                   PROSECUTOR:

   PL 265-03-03                           04/07/2019 21:15 HRS
  CHECK IF APPLICABLE:
                    |[Sale of controlled substance
                                                                 n Asset Forfeiture Case
  DEFENDANT(S):{last name,first name)         Date of Birth:       VICTIM{S): last name,first name                Date of Birth:

 GRAY,DAVID                                  08/02/1982 '         PSNY
 LOVETT,EDDIE                                01/15/1982           PSNY


  Has any evidence in this case been submitted to the laboratory previously? Q yes      No
 CPS          Agency
 item #:      Item #:         DESCRIPTION OF EVIDENCE:                   EXAMINE FOR:                         WHERE OBTAINED:
           01           SEALED GUN BOX WITH TITAN HANDGUN
                                                                  TEST FIRE                     1574EGGERTRD AMHERSTNY
                        TAG# 376525
           02           SEALED ENVELOPE WITH DNA                 DNA                            tt 11 It If



                        SWAB KIT FROM GUN TAG# 376550



 rOMMFNT<;-

                  SEE POLICE REPORT AND REQUEST FORM IN SHADED AREAS
THIS SIDE TO BE COMPLETED           E SUBMITTINI3 OFFICER

SUBMITTED BY:..^
                           SIGNATURE

PRINT NAME::

LOCKER NO.:


DATE/TIME SUBMITTED,
Bysigning thisform you acianowiedge that the iaboratory wiii
seiect the appropriate items to be anaiyzed and the methods
ofanalysis.
So to http://www.erle.gov/forenslclab for laboratory
information,guidelines and forms.


  DCPSL-5
                                                                                                                              2994
  Issued by: John P. Slmlch, Ph.D
                                                                                                                         Revision 2
  Issue date: 02/13/2014
                                                                                                                       Page 1 of 1
        Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 36 of 58
        Erie County Central Police Services Forensic Laboratory




                                 Evidence Discrepancy Form


  Laboratory# 19-01886                           Officers: Terry Walsh

                                                 Agency: Amherst PD

  Source ofDiscr^ancy:

          SDCPSL-N                   □other:


 Entry as submitted:
         Item 1 - As described on DCPSL-5
          (NOTE: Additional evidaice was submitted that was not listed on the submission form)




 Correct Entry:
         Item 1 - As described on DCPSL-5 AND Ammunition
         (NOTE: ALL evidence should be listed on the CPS Lab submission form)




Discrepancy detected by:                                Date:

            Witnessed b:                                Date:                f ZSIY




Evidence Discrepancy Form                                                      1380
Issued by Schmitz, Michelli                                                    Revision 6
Issue date: 12/20/2018 10:53:49 AM                                             Page 1 of1
Case 1:19-cv-00785-LJV Document 1 Filed 06/13/19 Page 37 of 58




                               U.S. Postal Service™
                               rPRTlFIED
                               CERT      MAIL™   RECEIPT
                                            .....r.nn.Covera,0Pr0V.m
                                                                     M» tarufur iifiDS.COlil(3^




                                         Certified Fee
                                                                                  Postmark
                                                                                     Here
                                   Return Receipt Fee
                              (Endorsement Required)
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